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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF GEORGIA
                                      DUBLIN DIVISION

                                                                      U.S.!'}              COURT
TERESA POPE HOOKS, individually;                                           /• I'0         n I
                                             *
and ESTATE OF DAVID HOOKS, by
Teresa Pope Hooks,
Administratrix,
                                             'k                      M GCr 21 p J 00
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                                             k
        Plaintiffs,
                                             k                          UO. L)|S U/' Gj^
                                             k
             V.                                                 CV 316-023
                                             k


                                             k
CHRISTOPHER BREWER; STEVE
                                 ff          k
VERTIN; and WILLIAM "BILL
HARRELL,

                                             k
        Defendants.




                                         ORDER




        The judgment in the above-styled action having been affirmed in

part, reversed in part, and remanded by the United States Court of

Appeals for the Eleventh Circuit,

        IT IS HEREBY ORDERED          that the     judgment of the      United           States


Court of Appeals for the Eleventh Circuit is made the judgment of

this    Court.     The Clerk is DIRECTED to enter judgment in favor of

Defendants       Harrell   and   Vertin.     The   Clerk   is    further    DIRECTED            to


TERMINATE Teresa Pope Hooks, individually, as a party to the case.

Plaintiff's claims as administratrix of David Hooks' estate against


Defendant Brewer shall proceed to trial in due {^urse.
        ORDER ENTERED at Augusta, Georgia, this                             of October,

2020.




                                                  UNITED STOTES    DISTRICT         JU
